Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 1 of 7

STATE OF NEW YORK )

COUNTY OF MV 0E )

DILYS FARNEY, being duly sworn, deposes and says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing

COMPLAINT and knows the contents thereof; that the same is true to deponent’s own knowledge, except
as to the matters therein stated to be alleged upon information and belief, and that as to those matters,

deponent believes them to be true.
Mi lao oe ie

Dilys Farney

Sworn to before me this

(4 day of April, 2018
Lbe3 2). ben)
Notary Public

Debbie D. Brown
Notary Public, State of New York
No. 01BR6209260
Qualified in Monroe Coun
Commission Expir: 20:

Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 2 of 7

STATE OF NEW YORK )

COUNTY OF (A iz +»)

DAVID SEUBERT, being duly swom, deposes and Says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing
COMPLAINT and knows the contents thereof; that the same is true to deponent’s own knowledge, except

as to the matters therein stated to be alleged upon information and belief, and that as to those matters,
deponent believes them to be true.

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David Seubert ¥

Sworn to before me this
/6_ day of April, 2018

Notary Public
FRANK R. GALUSHA, Notary Public

State of New York, Monroe County
Commission Expires METH 56-1 Sree
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Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 3 of 7

STATE OF NEW YORK )

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RICHARD HASTINGS, being duly swom, deposes and says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing

COMPLAINT and knows the contents thereof; that the same is true to deponent’s own knowledge, except
as to the matters therein stated to be alleged upon information and belief, and that as to those matters,

deponent believes them to be true.
’

Richard Hastings

Sworn to before me this
/6 day of April, 2018

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Seawd (l . Aube
Notary Public
FRANK R. GALUSHA, Notary Public

!8te of New York, Monroe County

Commission Expires Mere sé--¢——
AvGusT 13, 2014

Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 4 of 7

STATE OF NEW YORK )

COUNTY OF pvc _)

CAROLINE TOLBERT, being duly swom, deposes and says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing

COMPLAINT and knows the contents thereof; that the same is true to deponent’s own knowledge, except
as to the matters therein stated to be alleged upon information and belief, and that as to those matters,

deponent believes them to be true.

Caroltht Tolbert

Sworn to before me this
/&é_ day of April, 2018

Notary Public

FRANK R, GALUSHA, Notary Public
te af New York, Monroe County

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Case 6:18-cv-063

STATE OF NEW YorK )

COUNTY OF MEMRo EE)

Aly
Lynn Lanphear

Sworn to before me this
Ib day of April, 2018

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Notary Public

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Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 6 of 7

STATE OF NEW YORK )

COUNTY OF “oxrce _)

MARK WHELAN, being duly swom, deposes and says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing
COMPLAINT and knows the contents thereof; that the same is true to deponent’s own knowledge, except

as to the matters therein stated to be alleged upon information and belief, and that as to those matters,
deponent believes them to be true.

Mark Whelan

Sworn to before me this
/h day of April, 2018

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Notary Public
FRANK R. GALUSHA, Notary Public

State of Naw York, Monroe County

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Case 6:18-cv-06303-FPG Document1-1 Filed 04/17/18 Page 7 of 7

STATE OF NEW YORK )

COUNTY OF Meroe )

LINDA LANPHEAR, being duly sworn, deposes and says:

That the deponent is the Plaintiff in the within action; that the deponent has read the foregoing

COMPLAINT and knows the contents thereof: that the same is true to deponent’s own knowledge, except
as to the matters therein stated to be alleged upon information and belief, and that as to those matters,

deponent believes them to be true.
‘Linda Lanphear{/ a —_—

Sworn to before me this
(bday of April, 2018

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Notary Public

FRANK R, GA
State ef New Yerk,
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LUSHA, Notary Pubjic:
Monroe County
